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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUⅣ IBIA


UNITED STATES OF AMERICA                              CRIⅣIINAL NO。 18-CR-303-2

                V。                                    VIOLAT10NS:
SAⅣIANTHA      DEFOREST DAVIS,                        18 UoS.C.§ 2
                                                      (Aiding and Abetting)
                                Defendant.
                                                      18 UoSoC。   §1030(a)(2)
                                                      (COmputer Fraud)

                                                      22 DoC.Code§ 1803
                                                      (Attempt)

                                                      22 DoCo Code§ 723
                                                      (Tampering with Evidence)

                                        INFORⅣI AT10N

                                          COUNT ONE
                              (Aiding and Abetting Computer Fraud)

        Between on or about July 26, 2018, and October 2,2019, in the District of Columbia,

SAMANTHA DEFOREST DAVIS, by aiding and abetting JACKSON COSKO, did intentionally

and illegally access protected computers without authorization, and thereby obtained information

from those computers, said computers belonging to a department or agency of the United States,

that is, the United States Senate.

  (Computer Fraud, in violation of Title 18, United States Code, Sections 1030(a)(2)(B) and
                                         (c)(2XA))

                                        COUNT TWO
                             (Attempted Tampering with Evidence)

        On or about October 3, 2018, in the District of Columbia, SAMANTHA DEFOREST

DAVIS did attempt to alter, destroy, mutilate, conceal, and remove an object, that is, fingerprints,

DNA evidence and electronic data, by wiping down computers and computer peripheral devices
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used by the United States Senate, and restarting said computers, having reason to believe that an

official proceeding was likely to be instituted, with the intent to impair the integrity and availability

of that fingerprint, DNA, and electronic evidence for use in the official proceeding.

 (Attempted Tampering With Physical Evidence, in violation of 22 D.C. Code, Sections 723,

                                           1803(2001 ed.))




                                                ATTORNEY OF THE llNITED STATES,
                                                ACTING UNDER AUTHORITY CONFEШ                      D
                                                BY 28 UoS.C.§ 515




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